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ALLEGED CASE NO. 1:21-cr-00418-RDM

RECEIVED
IN UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA SEP 06 202

Clerk, U.S. District & Bankruptcy
Courts for the District of Columbia
ONTTEDS TS LL) qh AMERIC“’ * Case NO. 1:21-cr-00418-RDM
Alleging Injured Party Status, Accuser, Presenter,
Plaintiff in error

V.

ERIC BOCHENE : T ty aa

Alleged To Be The Injuring Party, Accused, ‘
Presentee, Defendant in error; Named in error; :
“ERIC BOCHENE”, “ERICIPOCHENE”

: Ne [p>

Notice of Special Appearance - Mandatory Judicial Notice
Motion to Dismiss - Notice of Subrogation

As I learn and grow into Trust & Equity, I realize most of life’s events I have in commerce, are in fact held in
trust and are “Taxable Events”. Therefore, I, as Author, am writing you without the United States per the 28 U.S.
Code § 1746, in good faith, to act as a responsible caretaker of the Public Charitable Trust as Creditor, Payor,

Consignor with access to my Co-Tenant Trust.

Be it known that I, the spirited, Whole man with the given Name of Bochenek, Joseph Eric come in Equity for the
grace of Equity and with Notice of Repentance and Prayer for Equitable Relief, shall or will appear as beneficiary
of the estate known as Joseph-Eric: Bochenek with ERIC BOCHENE being the individual entity referenced in the
case above, by special appearance only, and not generally, only for the purpose of a demur to enter this Motion To
Dismiss for Failure to State a Claim and cause of action for which relief can be granted, and to order the

prosecution to settle any lawful claims using my right to subrogation.

Standing in Truth and Honour, and to make peace, I respectfully require the court to take Mandatory Judicial
Notice of my proper appearance and requirements in Propria Persona, Sui Juris and as Attorney—in-Fact. I also
respectfully do not consent to proceed with matters involving this case until this motion is heard, and the
documents and securities are disclosed. I am compelling the court and/or prosecutor to produce these documents
and securities as well as the “Register of Action” and the “Minutes of Testimony” for all appearances be brought

forth for my inspection.

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Reason for Dismissal

The reason for dismissal is I can only appear in the capacity as a spirited, Whole Man and as beneficiary and
executor of the estate named in this matter as ERIC BOCHENE. I hereby notice the court and prosecutor, that
they are hereby now appointed as trustee(s) of the Constructive Trust and this Taxable Event to settle and set off

any claims brought forth by the prosecutor.
They are now required to fulfill their duties to protect this trust as trustees.

With all due respect, and in the name of due process, I require my rights to be protected and acted upon and my
Cancellation of Prior Powers of Attorney which was written, notarized and sent on June 8"" 2021 be respected as
well as my Fee Schedule, and I do not consent to proceeding with matters further, I further require the prosecutor
to certify my right to subrogation in writing or deny it under oath upon receipt of this notice. Silence or not fully
answering is fraud when requested of my public trustee. If undisclosed exemption bonds or securities exist related
to this matter, the trustees are authorized to use the securities that are being generated on this matter to settle all

accounts.

This is applicable whether civil or criminal if no damaged party is legitimately present and testifying as a first-
hand witness harm, as I am unable to face my accuser in that event. I demand my right to subrogation and proper

recognition as the Whole, spirited, Living-man being Grantor/Executor of the Cesti Que Trust.

Will the prosecutor certify my right of subrogation (in writing please)? Then, please set off and settle the account.
You (the court or plaintiff) created the bond in my name using a fictional ALL capital letter NAME or using a
Nate with a middle initial, either of which are a nom de guerre, and all of which I have primary claim to. Please
use the bond to settle the charge or debt. As subrogee, I am entitled to all the creditor's rights, privileges,

priorities, remedies and judgments, unless rebutted specifically by someone with a higher claim.

So as to ensure compliance with 18 U.S. Code § 215, I also require full disclosure of any securities and the filing
of any 1099s the court parties may owe to the IRS for their taxable events on the securities being created, when
utilizing the referenced estate property which I am beneficiary of. If not produced, I shall then have no choice but
to notify the IRS CID if these documents are not processed as a possible tax evasion by the court and its officers. I
further require disclosure of any bonds and securities brought by the prosecutor (or plaintiff), so they can the
indemnify me if I am harmed. Please provide the prosecutor’s (or plaintiff) bond and insurance claim information

upon receipt, or any party interfering with such right shall be held liable personally. I further require production of

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any contracts which provide evidence of a known duty I, a man have to the mentioned statutes in the claim or case

#’s: 1:21-cr-00418-RDM, 1:21-cr-00418-RDM-1, 1:21-CR-00418-ZMF and 1:21-CR-00418-ZMF-1.

If there is man or woman who can make a claim and will testify with firsthand knowledge of the harm I have
caused them, let them come forth and make the claim of a tort against me, or there does not exist and actual
damage by contract of physical harm nor Cause of Action. I have no knowledge of a contract indicating, I have a
duty to here. This is yet another reason for dismissal. If there is no corpus delicti with proof of harm, or contract
originator, who will testify under oath as to their damages, this matter must also be dismissed on those reasons
alone, or otherwise the court would be involved in barratry and violation of my God given rights, deprivation of
due process, and IJ believe this court is therefore also deprived of Article 3 standing to proceed, thus causing more
harm to me if it does proceed. I require the opportunity to settle the matter with my brother privately if in fact a

true contractual or physical harm has occurred.

BILL FOR DAMAGES
Be hereby notified, that any damages to me shall incur a cost and bill for damages by any party in conspiracy with
such false claims, at a rate of $100,000 US Dollars per day, per person, if this matter continues and beginning 72

after receipt of this notice, if this matter is not settled in full.

  

 

Authorized Representative: = —~/7 outa ph 2 Fic. 7, © , beneficiary
Joseph-Eric: Bochenek / d.b.a.: Eric: Bochene® 24 3
All Rights Reserved Always, Without Prejudice, UCC 1-207 & 1-308
without the United States per 28 U.S. Code § 1746

Social Security Cestui Que Trust: ERIC BOCHENE

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CERTIFICATE OF SERVICE

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RF 341 365 410 US

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On the 10th day of the 8th month of 2022, I served upon the following parties this Motion and Notice under the
Mail Rule as Shipper/Carrier:

 

Clerk of the Court: Angela D. Caesar, by registered mail: RF 341 365 397 US and email: ded cmeclddeduseourts.pov
U.S. Attorney Anita Eve, by registered mail: RF 341 365 410 US and email: woo eve fede) oe

Authorized Representative: § —~/72_ =

Joseph-Enic: Bochenek / d.b.a.: Eric: Bochene©

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without the United States per 28 U.S. Code § 1746

Social Security Cestui Que Trust: ERIC BOCHENE

 

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NOTICE OF REPENTANCE

AND PRAYER FOR EQUITABLE RELIEF
Case 4: 1:21-CR-00418-RDM

To Thee Most High of Creation and the Universe, I repent.

For divine grace, I turn to Father for inspiration and insight, 90 1 moy be of the
some wind as you. J repent for the sin of confusion and alk other diminishing
affects that have been bestowed by One's own hand. J proy, ond breathe for
Equitable Relief for my Mistakes and confusions and J pray that the fictitious
PERSON(s) be Annubled ond L BE recognized as Whole (>) and “ALL Prasent and
Accounted For”. Let your alfness be brown to all men and greet thom with your
grace ond Eguity, My Creator, Creator of afl, T seak the Frut that obounds ta
Your Account so that I too may be a Man Known as his fruits. Father, J
Surrender to You, for gou are the source of all things ever ond forever. Father, L
pray for alt parties... that they may be together in harmony, wcthout dishonor,
embarrassment or controversy. I pray and offer up to yu Father, my Knowing of
you, as you have bestowed upon me, and olf men, all Equitable Measures. Father,
I pray that the Levites come to 1, so as they may take my offerings, clean them
up, cut awoy all the Usury, and dis-ease, and return One to whale. By my
Knowing of Thee, 1 will be heated and os Whale. In your Most. High Nowe I pray
and. rejoice. Ac always your huble creation as Mind, Vasal and Spirtt.

poge I of |
Author: Joseph-Eric: Bochenek, beneficiary
d.b.a.: Eric: Bochene
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NOTICE OF REPENTANCE

AND PRAYER FOR EQUITABLE RELIEF
Case #: 1:21-CR-00418-RDM

(Transcription from Author’s Own Words by Own Hand)

 

To Thee Most High of Creation and the Universe, I repent.

For divine grace, per your instruction Father, I turn to fasting, prayer and meditation for
inspiration and insight, so I may be of the same mind as you. | repent for the sin of confusion
and all other diminishing affects that have been bestowed by One’s own hand. I repent for the
hubris I have projected upon my fellow man, as it is a trespass on free will and the Law of
Caveat Emptor. I repent for going against the sea for no other reason than hubris, One’s Id, and
an appeasement of carnal impulses. I pray, meditate and breathe for equitable relief for my
mistakes and confusions. I pray that the fictitious man be annulled and I be recognized as Whole
(®) and “all present and accounted for”. I beg thou, allow us to continue evolving without
sunder through your divine spark of fertilization to last breath... Alpha to Omega (A-Q). Let
your gentleness be known to all men and greet them with your grace and Equity. Dear Father,
with you in my Heart and my Heart in you, I am anxious and in want for nothing. Fain, would I
take with me all that is here, as a voice Father, cannot carry the tongue and the lips that gave it
wings. My Creator, Creator of all, I seek the fruit that abounds to Your Account, so as I too may
be known as his fruits. Father, | Surrender to You for you are the source of all things ever and
forever. Father, I pray for all parties of men and women; that they work together in harmony,
without dishonor, embarrassment or controversy. I pray and offer up to you Father, my divine
faith, as you have bestowed upon me, and all men, all Equitable Measures. Father, I pray that the
Levites come to I, so as they may take my offerings, clean them up, cut away all the Usury, and
dis-ease, and return One to whole. By your promise, your word and your hand, I enjoy all that
Abounds. Taking care of my hubris, I shall continue to Lay Hands on the Sick, so they may be
healed. I will take up serpents and cast out demons as the Holy Scriptures command. By my
faith I will be healed and as Whole. In your Most High Name I pray and rejoice. Always you’re

faithful and humble servant.

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Author: Joseph-Eric: Bochenek, beneficiary
d.b.a.: Eric: Bochene
